  Case 2:21-cr-00585-KM Document 14 Filed 07/28/21 Page 1 of 3 PageID: 30


2020R00 107 /RF


                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

 UNITED STATES OF AMERICA                     Hon. Kevin McNulty

     v.                                       Crim. No. 21-585

 KEITH RICHTER,                               18 U.S.C. § 922(g)(l)
  a/k/a "Conan"

                             I N FORMA T I O N

      The defendant having waived in open court prosecution by indictment,

the Acting United States Attorney for the District of New Jersey charges:

                                COUNT ONE
      (Possessionof a Fi r earm and Ammunition by aConvicted Felon)

      On or about February 21, 2021, in Mercer County, in the District of New

Jersey and elsewhere, the defendant,

                                KEITH RICHTER
                                 a/k/a "Conan,"

knowing that he had previously been convicted of at least one crime punishable

by imprisonment for a term exceeding one year, did knowingly possess in and

affecting interstate commerce a firearm, namely, one Ruger P345 .45 caliber

handgun, bearing serial number 664-28083, loaded with at least one round of

.45 caliber ammunition.

      In violation of Title 18, United States Code, Section 922(g)(l).
Case 2:21-cr-00585-KM Document 14 Filed 07/28/21 Page 2 of 3 PageID: 31
Case 2:21-cr-00585-KM Document 14 Filed 07/28/21 Page 3 of 3 PageID: 32
